

Matter of Heygood (2024 NY Slip Op 00487)





Matter of Heygood


2024 NY Slip Op 00487


Decided on February 1, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:February 1, 2024

PM-10-24
[*1]In the Matter of Michael Everett Heygood, an Attorney. (Attorney Registration No. 4971727.)

Calendar Date:January 29, 2024

Before:Pritzker, J.P., Lynch, Reynolds Fitzgerald, McShan and Powers, JJ.

Michael Everett Heygood, Colleyville, Texas, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Michael Everett Heygood was admitted to practice by this Court in 2011 and lists a business address in Irving, Texas with the Office of Court Administration. Heygood now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Heygood's application.
Upon reading Heygood's affidavit sworn to November 10, 2023 and filed November 27, 2023, and upon reading the January 24, 2024 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Heygood is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Pritzker, J.P., Lynch, Reynolds Fitzgerald, McShan and Powers, JJ., concur.
ORDERED that Michael Everett Heygood's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Michael Everett Heygood's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Michael Everett Heygood is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Heygood is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Michael Everett Heygood shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








